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UNITED STATES DISTR
SOUTHERN DISTRICT 0

                                                 14-cv-9662 (JSR)
In re: PETROBRAS SECURITIES
LITIGATION                                       MEMORANDUM ORDER

-------------------------------------x
JED S. RAKOFF, U.S.D.J.

     From Sykes-Picot to Iran-Contra, secret agreements always

have their apologists, but they rarely serve the public

interest. In the instant case, after the parties, with some

fanfare, had filed with the Court, on February 1, 2018, a

proposed settlement agreement, see Dkt. 767, they jointly

telephoned the Court on February 5, 2018 to notify the Court

that the settlement included two additional supplemental

agreements, as well as an undisclosed side letter with exhibits

attached regarding attorneys' fees,   that they proposed to file

under seal or otherwise keep confidential.

     Because this is a class action, the Court is required not

only to review the settlement, but also to make it available for

public comment. Accordingly, the Court summarily denied the

telephonic request and directed that counsel send the

supplemental agreements and side letter to the Court, so that

the documents could be publicly filed. Nonetheless, when the

supplemental agreements and side-letter were sent to the Court

last evening, they were accompanied by a letter from plaintiffs'



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counsel setting forth various strategic reasons for wanting to

keep these documents confidential.

     There is a certain irony in counsel for plaintiffs - who

have premised their claim of fraud on defendants' alleged

failure to disclose material information - seeking to keep

secret three agreements that are a material part of the

settlement. While plaintiffs' counsel states that the Court has

sometimes approved such sealing in past cases, the issue was

never squarely raised; and, in any event, the Court is now

convinced that the parties' and their counsels' strategic

concerns should play no role in the Court's determination of

whether or not such documents should be sealed. Rather, the

Court should be guided by the basic principle that all material

parts of a proposed class action settlement should be available

for public review and comment.

     Accordingly, the Court attaches to this Memorandum Order

the three documents in issue and directs the Clerk of the Court

to forthwith docket this Memorandum Order and the three

attachments.



     SO ORDERED.

Dated:    New York, NY
          February t:;__, 2018




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CLEARY GOTTLIEB STEEN & HAMILTON LLP                                                      VICTOllll, LEWKDW
                                                                                           LESUEN SrLVERMAN
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                                                                                          M•CHAEL L RYAN'             SA'fDRA t.. FLOW            IOMBERl.'I' A SPOEllR1
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                     One Liberty Plaza                                                    YA.RON Z. REICH
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                                                                                           RIC>tARDS LINCH            WILLIAM l,. MClll:AE        A&eMAA.MAINOO
                New York, NY 10006-1470                                                    snv~ G HOJIDWITZ           JASON FAClOfl               HUGH C. CONROY. Jll
                                                                                           JAMES A. DUffCAN           MARGARET S PEPONIS            ttmoa1n PAllTJl'l•s
                    T: +1212 225 2000                                                      STEVEN M. 1.0EB
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                                                                                                                      l.ISA M. SCHWEIT.2 ER
                                                                                                                      JUAN G GIRALDE?             SANDRA M ROG KS
                                                                                           EOWARO J. ROSEN
                    F: +1212 225 3999                                                      NICOLAS ORA8AJI:
                                                                                                                      DUANE MCLAUGHLIN
                                                                                                                      HEON S. PEACE
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                                                                                                                                                  JUDITH KASSEL
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                    clearygottlie b.com                                                    HOW.\RDS ZELBO
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                                                                                           RlCHARDJ. COOPER           GLENN P MCCRORY             KATHLEEN M. EMlii!IGER
                                                                                           JEFFREYS. LEWIS            MATTHEW P SALERHO           WALLACEL 1.ARSON,.iR.
                                                                                           PAtJLJ. SHIM               t.tlCHAEl J.ALBANO          AVRAM E. LUFT
      WASH!NGTON,D.C. •PARIS• BRUSSELS• LONDON• MOSCOW                                     STEVEN L Wit.NEii          VIGTCR l HOU                ANDREW WEAVER
                                                                                           ERIKA W. NIJENHUJS,        ROGER A. COOPER             HELENA K, C.AANNIS
        FRANKFURT• COLOGNE• ROME• MILAN. HONGKONG                                          ANDAES D£ U. CRUZ          AM'\I A. SftAPNlO           JDHH V. HARIUSOH
                                                                                           DAVIO C. lOP!?             JENNIFER KENNEDY PAAK       CAROLINE F. HAlOAY
                                                                                           JAM!SL. BAOMLeY            !LIZABETH U:NAS             RAHULMUKMI
      BEIJING· BUENOSAIRES ·SAO PAULO· ABUDHABI ·SEOUL                                     MICHAEl.A G;ERSTENZANG     LUKE' A IAllEFOOT           NEIL R. MARK El
                                                                                           LE.WISJ. LIMAN             PAM EU L UAlll::OCUESE      ldJMA'YUN KHALID
                                                                                           LEVL. DASSIN               PA.ULM. TlGEfl              CHRISC, LEE
                                                                                           NElt.Q, WHORISKEY          JOtCATHAM S l<OLOGNVi       KEHHETHS. BLAZEJEWSKI
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                                                                                           DAVI[) LEINWAHD            ADRIAN It. l.E.lPSIC        SHIRl.EYM 1.0
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                                                                                           JEFfRE.Y A ROSENTHAL       ADAJ.1 J. IRENNEUArt
                      D· +I 212 225 2550                                                   ETHAN A. Kl,INGSIERG       ARI 0 MACKINNON             (.OutSEM.PA,AEHT
                                                                                           JJ.ICJiAEL 0 DAYAN
                       lliman@cgsh. com                                                                               .JAMES E. LANGSTON            OJICDUNHL




                                                                                             February I, 2018
    Jeremy A. Lieberman
    Marc I. Gross
    Emnia Gilmore
    John A. Kehoe
    Brenda Szydlo
    Pomerantz LLP
    600 Third Avenue
    New York, NY 10016

    Patrick V. Dahlstrom
    Pomerantz LLP
    10 North LaSalle
    Suite 3505
    Chicago, IL 60603
                     Re:        In re Petrobras Securities Litigation, 14-cv-9662 (JSR)

    Dear Counsel:

           This Supplemental Agreement sets forth our agreement concerning certain provisions
    referenced in paragraph 62 of the Stipulation of Settlement and Release between Class
    Representatives and the Petrobras Defendants, dated February 1, 2018 in the above-
    referenced action (the "Stipulation"). Capitalized terms used herein are as defined in the
    Stipulation or the Plan of Allocation.

            Pursuant to paragraph 62 of the Stipulation, the Petro bras Defendants shall have, in
    their sole and absolute discretion, the option to terminate the Stipulation if members of the
    Settlement Class that, in the aggregate, have transactions resulting in Recoverable Losses
    (as defined in the Plan of Allocation) equal to or greater than 5% of the class damages
    estimated by Dr. Blaine Nye, or US$83 l,740,713, validly request exclusion from the
    Settlement Class. When calculating the amount of Recoverable Losses and the amount of
    class damages, the losses associated with the transactions in Petrobras Securities forming the


                    Cleary Gottlieb Steen & Hamilton LLP or an affiliated entity has an office in each of the cities listed above.
Class Counsel, p. 2


basis of the claims in the Individual Actions or with the transactions reflected in the Notices
of Exclusion pursuant to the Notice of Pendency of Class Action issued on May 9, 2016
shall not be included.

      By your signature below, you agree that the foregoing accurately reflects our
agreement.
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 Jerem
 Marc.
 Emm ilmore
 John A. Kehoe
 Brenda Szydlo
 600 Third Avenue
 New York, New York 10016
 Tel: (212) 661-1100
 Fax: (212) 661-8665
 jalieberman@pomlaw.com
 migross@pomlaw.com
 egilmore@pomlaw.com
 jkehoe@pomlaw.com
 bszydlo(@.pomlaw.com

  Patrick V. Dahlstrom
  10 North LaSalle
  Suite 3505
  Chicago, IL 60603
  Tel: (312) 377-1181
  Fax: (312) 377-1184
  pdahlstrom@pomlaw.com



  Jennifer Pafiti
  468 North Camden Drive
  Beverly Hills, CA 90210
  Telephone: (818) 532-6499
  Fax: (917) 463-1044
  E-mail: jpafiti@pomlaw.com

  Counsel for Class Representatives and the Settlement Class
Class Cotmsel, p. 3




 Jay B. Kasner
 Scott D. Musoff
 Jeremy A. Berman
 Four Times Square
 New York, New York 10036
 Tel: (212) 735-.3000
 Fax: (212) 735-2000
 j ay.kasner@skadden.com
 scott.musoff@skadden.com
 j eremy.berman@skadden.com

 Counsel for Underwriter Defendants
UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                     )
                                                     )    No. 14-cv-9662 (JSR)
IN RE PETROBRAS SECURITIES
LITIGATION                                           )
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                                                          ECFCASE
                                                     )
                                                     )


                       AMENDED SUPPLEMENTAL AGREEMENT

               [CONFIDENTIAL- NOT TO BE FILED WITH THE COURT
                     OR OTHERWISE DISCLOSED PUBLICLY]
       Class Representatives Universities Superannuation Scheme Limited (as sole corporate

trustee of Universities Superannuation Scheme), North Carolina Department of State Treasurer

and Employees' Retirement System of the State of Hawaii (collectively, "Class Representatives"),

on behalf of themselves and the Settlement Class, and defendant PricewaterhouseCoopers

Auditores Independentes ("PwC Brazil"), by and through their respective counsel, hereby enter

into this confidential supplemental agreement (the "Supplemental Agreement") with respect to the

subject matter identified in   ~~   54-55 of the Stipulation and Agreement of Settlement dated

November 30, 2017, as amended on February 1, 2018 (the "Stipulation"). All capitalized words

and terms not defined in this Supplemental Agreement shall have the meaning stated in the

Stipulation.

       IT IS HEREBY AGREED AS FOLLOWS:

        1.     Pursuant to and in accordance with the provisions   of~   54 of the Stipulation, PwC

Brazil shall have the right to withdraw from and terminate the Settlement in its entirety and to

render the Stipulation null and void if more than 5% of the Securities Act Class, excluding those

Class Members that have already filed individual actions asserting securities fraud claims relating

to Petrobras or otherwise filed a Notice of Exclusion pursuant to the Notice of Pendency of
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Class Action issued on May 9, 2016, opt out of the Securities Act Class or this Settlement

("Opt-Out Threshold") by properly electing to exclude themselves from the Settlement. The

percentage of the Securities Act Class referenced above shall be calculated by reference to the

amount of recoverable losses of the Securities Act Members pursuant to the Plan of Allocation.

       2.      Copies of all requests for exclusion from the Securities Act Class already received

by the Claims Administrator (or other person designated to receive exclusion requests) shall be

provided to PwC Brazil's Counsel no later than seven (7) calendar days after execution of this

Supplemental Agreement; copies of any additional requests for exclusion shall be provided no

later than fourteen (14) calendar days prior to the Settlement Hearing.

       3.      The election provided for in Paragraph 1 of this Supplemental Agreement must be

made and communicated in writing to Lead Counsel within ten (10) calendar days following

receipt ofrequests for exclusion that meet the Opt-Out Threshold but in no event shall the election

to terminate be provided to Lead Counsel later than five (5) calendar days prior to the Settlement

Hearing. If the election is made, it may be revoked by PwC Brazil at any time. Lead Counsel shall

have the right to communicate with any persons and entities that submit requests for exclusion and,

if requests for exclusion are withdrawn such that the Opt-Out Threshold is no longer met, Lead

Counsel will immediately inform PwC Brazil's Counsel, and the election to terminate, if made,

will automatically become null and void and of no further effect. Should there be a dispute

between the Plaintiffs and PwC Brazil as to whether the Opt-Out Threshold has been met, they will

present the dispute to the Court (in camera) prior to the Settlement Hearing.

        4.     If at any time before entry of the Judgment, the PIMCO Plaintiffs (defined herein as

Pacific Management Co. and all affiliated Persons and any funds owned or managed by the

foregoing) succeed in seeking leave of the Court to amend or otherwise file a complaint against




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PwC Brazil relating to investments in Petrobras during the Class Period, the Settlement Fund shall

refund PwC Brazil 65% of the amount of monies the PIMCO Plaintiffs would have received had

they been Settlement Class Members and filed a claim with the Claims Administrator as part of the

claims administration process. The Claims Administrator shall calculate this amount pursuant to

the instructions provided by Class Representatives and PwC Brazil. However, PwC Brazil shall

have no authority or input as to formulating the Plan of Allocation.

       5.      Each counsel executing the Supplemental Agreement on behalf of any party hereto

hereby warrants that he or she has the full authority to do so.



Dated: New York, New York
       February 1, 2018
                                               POMERANTZ LLP




                                               Jeremy . Lieberman
                                               Marc
                                               Emm ilmore
                                               John A. Kehoe
                                               Brenda Szydlo
                                               600 Third A venue
                                               New York, New York 10016
                                               Tel: (212) 661-1100
                                               Fax: (212) 661-8665
                                               jalieberman@pomlaw.com
                                               migross@pomlaw.com
                                               egilmore@pomlaw.com
                                               jkehoe@pomlaw.com
                                               bszydlo@pomlaw.com

                                               POMERANTZ LLP
                                               Patrick V. Dahlstrom
                                               10 North LaSalle
                                               Suite 3505
                                               Chicago, IL 60603
                                               Telephone: (312) 377-1181
                                               Facsimile: (312) 377-1184
                                               pdahlstrom@pomlaw.com




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POMERANTZ LLP
Jennifer Pafiti
468 North Camden Drive
Beverly Hills, CA 90210
Telephone: (310) 285-5330
jpafiti@pomlaw.com

Counsel for Class Representatives and the
Settlement Class

LABATON SUCHAROW LLP

Thomas A. Dubbs
Louis Gottlieb
140 Broadway
New York, New York 10005
Tel: (212) 907-0700
Fax (212) 818-04 77
tdubbs@labaton.com
lgottlieb@labaton.com

Additional Counsel for Employees' Retirement
System ofthe State of Hawaii


KING & SPALDING LLP



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By:~~~~~~~~
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Michael R. Pauze
1700 Pennsylvania Avenue, NW
Washington, DC 20502
Tel: (202) 737-0500
Fax: (202) 626-3737
mpauze@kslaw.com

KING & SPALDING LLP
James J. Capra, Jr.
1185 A venue of the Americas
New York, New York 10036
Tel: (212) 556-2100
Fax: (212) 556-2222
jcapra@kslaw.com

Counsel for Defendant PricewaterhouseCoopers
Auditores Independentes



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CLEARY GOTTLIEB STEEN & HAMILTON LLP                                                      VICTOR 1 L.EWKOW
                                                                                          LESLIE N SH..VERMAN
                                                                                           LEEC BUCHHEIT
                                                                                                                   CARMlNE D BOCCUZZI, JR
                                                                                                                   JEFFREY 0 KARPF
                                                                                                                   KIMBERLY BROWN BLACKLOW
                                                                                                                                             JARED GERBER
                                                                                                                                             COL.IND LLOYD
                                                                                                                                             COREY M GOODMAN
                                                                                          THOMAS J MOLONEY         ROBERT.;.. RAYMOND        RISHI ZUTSHI
                                                                                          DAVID G SABEL            SUNG K KANG               JANE VANLARE
                                                                                          JONATHAN' BLACKMAN       LEONARD C ..iAC08Y        DAVID H HERRINGTON
                                                                                          MICHAEL L RYAN           SANDRA L FL.OW            KIMBERLY R SPOERR1
                                                                                          ROBERT P DAVIS           FRANCISCO L. CESTERO      AARON J MEVERS
                      One Liberty Plaza                                                   YARON Z REIC.-H          FRANCESCA L ODELL         DANIEL C REYNOLDS
                                                                                          RICHARDS LtNCER          WlL.1..1AM L MCRAE        ABENAA MA!NOO
                 New York, NY 10006-1470                                                  STEVEN G HOROWITZ
                                                                                          JAMES A DUNCAN
                                                                                                                   JASON FACTOR
                                                                                                                   MARGARET S PEPON~S
                                                                                                                                             HUGH C CONROY JR
                                                                                                                                              RESIDENT PARTNERS

                    T: + 1212 225 2000                                                    STEVEN M LOEB
                                                                                          CRA1G B BROD
                                                                                                                   LISA M SCHWEITZER
                                                                                                                   JUAN G GIRALDEZ           SANDRA M ROCKS
                                                                                          EDWARD J ROSEN           DUANE MCLAUGHL1N          S DOUGLAS BORISKY
                    F: +1212 225 3999                                                     NICOLAS GRABAR           BREON S PEACE             JUDITH KASSEL
                                                                                          CHRISTOPHER E AUSTIN     MEREDITH E KOTL.ER        DAVm E. WEBB
                                                                                          SETH GROSSHANDLER        CHANTAL E KORDULA         PEN~LOPE L CHRISTOPHOROU

                     clearygottlieb.com                                                   HOWARDS ZELBO
                                                                                          OAV~D E BRODSKY
                                                                                                                   BENET J O'REILLY
                                                                                                                   ADAME FLEISHER
                                                                                                                                             BOAZ S MORAG
                                                                                                                                             MARVE ALCOCK
                                                                                          ARTHUR 1-t KOHN          SEAN A Q·NEA1..           HEIDE H ILGE!ffR!TZ
                                                                                          RICHARD J COOPER         GLENN P MCGRORY           KATHLEEN M EMBERGER
                                                                                          JEFFREYS LEWIS           MATTHEW P SALERNO         WALLACE L LARSON JR
                                                                                          PAUL J SHIM              MICHAEL J A1.BANO         AVRAM E LtlFT
                                                                                          STEVEN L WILNER          VICTOR L HOU              ANDREW WEAVER
      WASHINGTON, DC • PARIS • BRUSSELS • LONDON • MOSCOW                                 ERIKA W N1JENHUIS        ROGER A COOPE.R           HELENA K GRANNIS
                                                                                          ANDRES OE LA CRlJZ       AMY R SHAPIRO             JOHN V HARRISON
        FRANKFURT • COLOGNE • ROME • MILAN • HONG KONG                                    DAVID C 1..0PEZ          JENNIFER KENNEDY PARK     CAROLINE F HAYOAV
                                                                                          JAMES L BROMLEY          ELIZABETH 1.ENAS          RAHUL MUKHr
      BEIJING· BUENOSAIRES •SAO PAULO· ABU DHABI· SEOUL                                   MICHAEL A GERSTENZANG    LUKE A BAREFOOT           NE1l R MARKEL
                                                                                          LEWIS J 1..IMAN          PAMELAL MARCOGLIESE       HUMAYUN KHALID
                                                                                          Lev L CASSIN             PA.ULM T1GER              CHRIS C LEE
                                                                                          NEIL Q WHORISKEV         JONATHAN S KOL00NER       KENNETH S BLAZEJEWSKI
                                                                                          JORGE u JUANTORENA       DANIEL IL.AN              ANDREA M BASHAM
                                                                                          MICHAEL 0 WEINBERGER     MEYER H FEDIDA            LAURA BAGAREL 1...A
                                                                                          DAV10 LEINWAND           AORlAN R LELPSIC          SHIRLEY M LO
                                                                                          DIANA L WOL 1..MAN       ELIZABETH VICENS           RESIDEN"<'COUNSEL
                                                                                          .iEFFREY A ROSENTHAL     ADAM J BRENNEMAN
                       D +I 212 225 2550                                                  ETHAN A KUNGSBERG        ARID MACKINNON            LOUISE M PARENT
                                                                                          MICHAEL D DAYAN          JAMES E. LANGSTON
                        lhman@cgsh com



                                                                                            February I, 2018
    Jeremy A. Lieberman
    Marc I. Gross
    Emma Gilmore
    John A. Kehoe
    Brenda Szydlo
    Pomerantz LLP
    600 Third Avenue
    New York, NY 10016

    Patrick V. Dahlstrom
    Pomerantz LLP
    10 North LaSalle
    Suite 3505
    Chicago, IL 60603

    Jennifer Pafiti
    Pomerantz LLP
    468 North Camden Drive
    Beverly Hills, CA 90210

                      Re:        In re Petrobras Securities Litigation, 14-cv-9662 (JSR)

    Dear Counsel:

           This Attorneys' Fees Letter sets forth our agreement concerning certain provisions
    referenced in paragraphs 37-40 of the Stipulation of Settlement and Release between Class
    Representatives and the Petrobras Defendants, dated February 1, 2018 in the above-
    referenced action (the "Stipulation"). Capitalized terms used herein are as defined in the
    Stipulation. This agreement is subject to any further limitations with respect to the Class
    Counsel's receipt of attorneys' fees by the District Court.




                     Cleary Gottlieb Steen & Hamilton LLP or an affiliated entity has an office m each of the cities hsted above.
Class Counsel, p. 2


        No later than ten (10) days after the District Court enters the Judgment, one hundred
percent ( 100%) of expenses or costs awarded by the District Court, and up to fifty percent
(50%) of attorneys' fees awarded by the District Court, shall be paid, notwithstanding any
timely-filed objections to the settlement or the fee request, or any appeal therefrom or any
collateral attack on the settlement or fee award, subject to the undertakings, obligations, and
guarantees set forth below, and subject to a dollar amount cap on the collectable 50%
portion of the attorneys' fees, or maximum, of one hundred forty two million two hundred
and fifty thousand dollars (US$142,250,000.00). This foregoing provision is subject to the
reservation of 10% of attorneys' fees described in the final paragraph of this letter.

        If Class Counsel seeks payment of more than 50% of attorneys' fees awarded by the
District Court prior to the entry of a Final non-appealable Judgment, Class Counsel must
first obtain at its own cost a letter of credit, substantially in the form attached hereto as
Exhibit A, from a reputable financial institution acceptable to the Petrobras Defendants for
the portion of attorneys' fees sought by Class Counsel above 50% or US$142,250,000.00.
No distribution of attorneys' fees shall occur under this provision until the Petrobras
Defendants confirm in writing to the Escrow Agent that they have received an acceptable
letter of credit. Any remaining unpaid attorneys' fees shall only be paid after the entry of a
Final non-appealable Judgment.

        The following undersigned attorneys- Jeremy A. Lieberman, Marc I. Gross, and Patrick
V. Dahlstrom----each shall be personally liable, jointly and severally, for any failure of Class
Counsel to refund or repay the fees and expenses to the Petro bras Defendants, should any award
of fees or expenses become no longer payable as referenced in paragraph 39 of the Stipulation,
or reduced or reversed on appeal as referenced in paragraph 40 of the Stipulation, or should it be
determined that Class Counsel is not entitled to fees and expenses for whatever reason, and each
shall execute a personal guarantee to that effect in the form attached as Exhibit B, guaranteeing
repayment of the fees and expenses. Class Counsel shall also be liable, jointly and severally with
the undersigned attorneys, for any such failure to refund or repay fees and expenses and shall
execute the undertaking to that effect in the form attached as Exhibit C. No distribution of
attorneys' fees shall occur under this provision until the Petrobras Defendants confirm in
writing to the Escrow Agent that they have received an acceptable undertaking from Class
Counsel and acceptable personal guarantees from the above-identified attorneys. Said
confirmation shall not be withheld by the Petrobras Defendants in the event Class Counsel
executes Exhibits B and C, and if applicable, obtains a letter of credit from a reputable
financial institution acceptable to Petrobras in the form of Exhibit A.

       In additions to the limitations on the receipt of attorneys' fees set forth above, Class
Counsel has agreed with Lead Plaintiff Universities-Superannuation Scheme, Ltd. that it will
reserve taking 10% of the total fee award until at least seventy five percent (75%) of the Net
Settlement Fund has been distributed to Class Members.
Class Counsel, p. 3


      By your signature below, you agree that the foregoing accurately reflects our
agreement.



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 POMERANTZ LLP

 By: ~~~~~~~~~

 Jeremy A. Lieberman



 Marc I. Gross

 Emma Gilmore
 John A. Kehoe
 Brenda Szydlo
 600 Third A venue
 New York, New York 10016
 Tel: (212) 661-1100
 Fax: (212) 661-8665
 jalieberman@pomlaw.com
 migross@pomlaw.com
 egilrnoreCal,pomlaw.com
 jkehoe@pomlaw.com
 bszydlo@pomlaw.com



 Patrick V. Dahlstrom
 10 North LaSalle
 Suite 3505
 Chicago, IL 60603
 Tel: (312) 377-1181
 Fax: (312) 377-1184
 pdahlstrom@pomlaw.com

  Counsel for Class Representatives and the Settlement Class
EXHIBIT A
                           EXHIBIT A TO ATTORNEYS' FEES LETTER
IRREVOCABLE STAND-BY LETTER OF CREDIT NO.
                                                      -------
DATE OF ISSUE
                ---------~

ISSUING BANK:
                :--::----------
(MIN IM UM RATING IS "A-" BASED ON STANDARD & POOR'S AND FIRST CLASS COUNTRY OR "A3" BASED
ON MOODY'S RATING LISTS) (Issuing Bank to be previously approved by PETROBRAS)


APPLICANT:
             -------------~

BENEFICIARY: PETROLEO BRASILEIRO S/A - PETROBRAS E/OU EivlPRESA DO GRUPO
             AV. REPUBLICA DO CHILE, 65 - 3RD FLOOR- ROOM 302
             20035-912 - CENTRO - RIO DE JANEIRO - RJ - BRAZIL
             ATT.: SERVIO TULIO DA R. TINOCO

ADVISING BANK:
Banco Santander (Brasil) S/A
Av. Rio Branco, 70 - 5° andar - Comex Atendimento e Servicos
Centro - Rio de Janeiro - RJ
CEP: 20040-070
SWIFT: BSCHBRSP
Att.: Rita Sancho Silva I Regina Gigek de Carvalho
Tel.:+ 55 21 2526-9682 / + 55 11 5538-5321

CONFIRMING BANK:
                           --~----------
(Con Li rm in g Bank to be previously approved by PETROBRAS)


GENTLEMEN:

AT THE REQUEST AND ON BEHALF OF                        (THE "APPLICANT" AS ABOVE), WE
HEREBY ESTABLISH OUR IRREVOCABLE STANDBY LETTER OF CREDIT NO.                   (INSERT
NUMBER) DATED          (INSERT DATE) IN FAVOR OF                (INSERT BENEFICIARY'S
NAME) IN THE AMOUNT OF U.S. DOLLARS(INSERT AMOUNT IN NUMBERS) (UNITED STATES DOLLARS
_ _ _ _ _ _(INSERT AMOUNT IN WORDS), WITH INTEREST INCLUDED AS PROVIDED HEREIN.
EFFECTIVE IMMEDIATELY AND EXPIRING ON                  (INSERT DA TE - MINIMUM 20 DAYS
AFTER THE ESTIMATED PAYMENT DATE) AT THE COUNTERS OF                     (BENEFICIARY'S
ADVISING BANK).

FUNDS UNDER THIS LETTER OF CREDIT ARE AVAILABLE TO YOU AGAINST YOUR DRAFT(S) ORA WN AT
SIGHT ON US (ISSUING BANK), AND AGAINST THE PRESENTATION OF FOLLOWING DOCUMENT,
MENTIONING THEREON OUR LETTER OF CREDIT NO.                  : BENEFICIARY'S STATEMENT
SIGNED BY AN AUTflORIZED REPRESENTATIVE STATING: 'THE APPLICANT HAS FAILED TO COMPLY
WITH ITS PAYMENT OBLIGATION TWO DAYS AFTER DUE DATE" OR ACCOivlPANIED BY YOUR WRITTEN
ORA WING CERTIFICATION IN THE FORM ATTACHED HERETO AS ANNEX AND MADE A PART HEREOF.

PAYMENT DETAILS: IF PAYMENT FALLS DUE ON A SATURDAY, SUNDAY OR BANK HOLIDAY IN NEW
YORK, PAYMENT SHALL BE MADE ON THE FOLLOWING FIRST NEW YORK BANKING DAY
WE HEREBY ENGAGE WITH YOU THAT ALL DRAFTS DRAWN ON US AND PRESENTED UNDER AND IN
COMPLIANCE WITH THE TERMS OF THIS LETTER OF CREDIT WILL BE DULY HONORED BY US IF
PRESENTED TOGETHER WITH YOUR WRITTEN DRAWING CERTIFICATION AS PROVIDED ABOVE ON OR
BEFORE EXPIRY AT ADVISING BANK'S COUNTERS (THE PLACE OF PRESENTATION - INSERT NAME OF
THE BANK) UPON OUR RECEIPT OF A DEMAND FOR PAYMENT MADE BY YOU HEREUNDER AT LEAST
THREE BANKING DAYS PRIOR TO THE DA TE PAYMENT HEREUNDER IS EXPECTED. PAYMENT SHALL BE
MADE TO YOU OF THE AMOUNT DEMANDED IN IMMEDIATELY AVAILABLE FUNDS NO LATER THAN
10:00 A.M. LOCAL TIME AT THE PLACE OF PRESENTATION ON THE DAY FOR WHICH PAYMENT IS
DEMANDED.

SPECIAL CONDITIONS:

l) ALL BANK CHARGES INCLUDING ISSUING, CONFIRMING AND NEGOTIATING COSTS SHALL BE FOR
APPLICANT'S ACCOUNT. ONLY ADVISING COSTS OF BANCO SANTANDER (ADVISING BENEFICIARY'S
BANK) SHALL BE FOR BENEFICIARY'S ACCOUNT.

2) THIS SWIFT IS THE OPERATIVE INSTRUMENT OF THIS CREDIT AND NO MAIL CONFIRMATION WILL
FOLLOW.

3) THE TOTAL UC AMOUNT OF USD (INSERT AMOUNT IN NUMBERS)

4) PARTIAL AND MULTIPLE DRAWINGS ARE PERMITTED.

5) TYPOGRAPHICAL OR SPELLING ERRORS THAT DO NOT AFFECT THE MEANING OF A WORD OR
SENrnNCE !N \Vl-l!CH IT OCCURS SHALL NOT CONSTITUTE A DISCREPANCY.


THIS STANDBY LETTER OF CREDIT IS SUBJECT TO THE INTERNATIONAL STANDBY PRACTICES (1998)
REVISION - INTERNATIONAL CHAMBER OF COMMERCE PUBLICATION NO. 590 AND TO THE EXTENT
NOT INCONSISTENT THEREWITH, SHALL BE GOVERNED BY AND CONSTRUED IN ACCORDANCE WITH
THE LAWS OF THE STATE OF NEW YORK.


NOTE: THE ADVISING BANK OR BENEFICIARY WILL INSERT INFORMATION CALLED FOR IN BLANK SPACES
AND BETWEEN PARENTHESIS PRIOR TO PRESENTATION ON THE FOREGOING DRAWING CERTIFICATION.
ANNEX.

DRAWING CERTIFICATION

DATE:
     -----
TO:
    -------


RE.: LETTER OF CREDIT N O . - - - - - - -


GENTLEMEN:

PLEASE BE ADVISED THAT WE ARE HEREBY DRAWING UNDER THE ABOVE REFERENCED LETTER OF
CREDIT AND THAT:

1)                    (APPLICANT'S NAME AND ADDRESS) (APPLICANT) OWES US AS OF THE DATE
     HEREOF U.S. DOLLARS               (AMOUNT IN WORDS AND FIGURES) IN CONNECTION WITH
     STIPULATION OF SETTLEMENT AGREEMENT EFFECTIVE AS OF            (DATE).
2)   WE HAVE REQUESTED PAYMENT FROM APPLICANT PER THE ATTACHED PHOTOCOPY, FACSIMILE
     OR TELEX COPY OF THE INVOICE IN THE AMOUNT OF U.S. DOLLARS_ _ _ _ _ _ _ _ _ __
     (AMOUNT IN WORDS AND FIGURES) AND AS OF THE DATE HEREOF APPLICANT HAS FAILED TO PAY
     US SUCH AMOUNT.

THIS DRAWING IS IN THE AMOUNT OF U.S. DOLLARS                       (AMOUNT IN WORDS AND
FIGURES) WHICH IS NOT IN EXCESS OF THE AMOUNT FOR WHICH PAYMENT HAS BEEN REQUESTED AS
SET FORTH IN PARAGRAPH 21-IEREOF, PLUS INTEREST (INTEREST SHALL BE CALCULATED ON THE ONE
MONTH LONDON INTERBANK OFFERED RATE (LIBOR) FOR U.S. DOLLAR DEPOSITS OFFERED BY
BLOOMBERG PUBLICATION AT 11:00 A.M. LONDON TIME AS QUOTED ON PAGE BBAM IN EFFECT ON
THE DA TE APPLICANT'S PAYMENT WAS DUE, PLUS THREE PERCENT PER ANNUM) FROM - - - - -
(DATE APPLICANT'S PAYMENT WAS DUE) THROUGH THE DATE OF YOUR PAYMENT HEREUNDER.
PAYMENT OF THE AMOUNT DEMANDED HEREUNDER, INCLUDING INTEREST, IS REQUESTED TO BE
MADE NOT LATER THAN 10:00 A.M. LOCAL TIME AT YOUR OFFICE WITHIN THREE BANKING DAYS
AFTER THE DA TE OF YOUR RECEIPT OF THIS REQUEST.

VERY TRULY YOURS,
BY: _ _ _ _ _ _ _ _ __
TITLE: _ _ _ _ _ _ _ _ __

NOTE: THE ADVISING BANK OR BENEFICIARY WILL INSERT INFORMATION CALLED FOR IN BLANK SPACES
AND BETWEEN PARENTHESIS PRIOR TO PRESENTATION ON THE FOREGOING DRAWING CERTIFICATION.



OBSERVA<;AO: O TEXTO MARCADO EJ\.'1 AMARELO DEVERA SER PREENCHIDO DE ACORDO COM
CADA OPERA(:AO.
EXHIBITB
                      EXHIBIT B TO ATTORNEYS' FEES LETTER
                                         GUARANTEE

        GUARANTEE (as the same may be amended, supplemented or otherwise modified from
time to time, the "Guarantee"), dated as of February 1, 2018, of Mr.. Jeremy A. Lieberman (the
"Guarantor") in favor of Petr6leo Brasileiro S.A. - Petro bras ("Petro bras"), Petro bras Global
Finance B.V. ("PGF"), and their successors and permitted assigns (the "Beneficiaries").

       WHEREAS, Pomerantz LLP (the "Obligor"), on behalf of Plaintiffs and Settlement
Class Members, has entered into a Stipulation of Settlement and Release, dated as of February 1,
2018 (the "Stipulation"), with the Beneficiaries, and with other parties;

      WHEREAS, unless otherwise defined herein, all capitalized terms shall have the
meanings ascribed to them in the Stipulation;

       WHEREAS, in consideration of the provisions set forth in the Stipulation governing the
award and payment of attorneys' fees and expenses to Obligor, the Guarantor is willing to enter
into this Guarantee;

       NOW, THEREFORE, the Guarantor hereby agrees:

        Section 1. Payment Guarantee. (a) From and after the date hereof, the Guarantor
hereby irrevocably, absolutely and unconditionally guarantees to the Beneficiaries the payment
of all present and future amounts payable by the Obligor under~~ 37-40 of the Stipulation,
whether direct or indirect, absolute or contingent, now or hereafter from time to time owing to
the Beneficiaries, in full in cash when the same are due and payable in accordance with the terms
of the Stipulation (the "Guaranteed Obligations").

        This is a guarantee of payment, and not merely of collection. The Guarantor further
agrees to pay and indemnify the Beneficiaries for all costs, fees and expenses (including, without
limitation, reasonable legal fees) incurred by any Beneficiary in connection with enforcing or
exercising its rights under this Guarantee or any direct damages arising from a breach by
Guarantor of the provisions hereof or any misrepresentation made by the Guarantor herein.

        (b)     In no event shall any Beneficiary be obligated to take any action, obtain any
judgment or file any claim prior to enforcing this Guarantee. Upon failure of the Obligor
punctually to pay when due the Guaranteed Obligations, and upon demand by any Beneficiary to
the Guarantor, the Guarantor agrees promptly to pay or cause to be paid such amounts; provided
that delay by any Beneficiary in giving such demand shall in no event affect the Beneficiaries'
rights or the Guarantor's obligations under this Guarantee. The rights, powers, remedies and
privileges provided in this Guarantee are cumulative and not exclusive of any rights, powers,
 remedies and privileges provided by any other agreement or by law, including, but not limited to,
 the guarantee agreements executed by Marc I. Gross and Patrick V. Dahlstrom in favor of the
 Beneficiaries.

       (c)     The Guarantor hereby agrees that his obligations hereunder are absolute,
 unconditional and continuing and, without limiting the generality of the foregoing, shall not be
released, discharged or otherwise affected by (and the Guarantor hereby waives, to the extent
applicable):

               (i)      any claim as to the validity, regularity or enforceability of the Stipulation
                        or this Guarantee or any other agreement related to the Stipulation or this
                        Guarantee,

               (ii)     the lack of authority of the Guarantor to execute or deliver this Guarantee;

               (iii)    the lack of authority of the Obligor to execute or deliver the Stipulation;

               (iv)     any change in the time, manner or place of payment of, or in any other
                        term of, or amendment to the Stipulation;

               (v)      any rescission, amendment, waiver or consent by any Beneficiary with
                        respect to any provisions of the Stipulation or this Guarantee or any
                        compromise or release by any Beneficiary of any of the Obligor's
                        obligations thereunder or hereunder.

               (vi)     the absence of any action to enforce the Stipulation, to recover any
                        judgment against the Obligor or to enforce a judgment against the Obligor
                        under the Stipulation;

               (vii)    the existence of any bankruptcy, insolvency, reorganization or similar
                        proceedings involving the Obligor or the Guarantor;

               (viii)   any setoff, counterclaim, or defense of any kind or nature which may be
                        available to or asserted by the Guarantor or the Obligor against the
                        Beneficiaries or any of their affiliates, or against the Settlement Class
                        Members or any of their affiliates;

               (ix)     any change in the laws, rules or regulations of any jurisdiction;

               (x)      any present or future action of any governmental authority or court
                        amending, varying, reducing or otherwise affecting, or purporting to
                        amend, vary, reduce or otherwise affect, any of the obligations of the
                        Obligor under the Stipulation or of the Guarantor under this Guarantee;
                        and

                (xi)     any other circumstance (other than payment) which might otherwise
                         constitute a legal or equitable discharge or defense of a guarantor
                         generally.

         (d)     The Guarantor hereby further waives diligence, presentment, demand on the
 Obligor for payment, filing of claims, requirement of a prior proceeding against the Obligor and
 protest or notice, except as provided for in the Stipulation with respect to amounts payable by the
 Obligor. If at any time (including any time after termination or expiration ofthis Guarantee) any
 payment under the Stipulation is rescinded or must be otherwise restored or returned by any
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Beneficiary, any Settlement Class Member or the Escrow Agent upon the insolvency, bankruptcy
or reorganization of the Obligor or the Guarantor or otherwise, the Guarantor's obligations
hereunder with respect to such payment shall be reinstated upon such restoration or return being
made by such Beneficiary, such Settlement Class Member or the Escrow Agent, all as though
such payment had not been made.

       (e)     Any return of monies to Petrobras pursuant to the tenns of the Stipulation or this
Guarantee shall be made via wire transfer payable to Petr61eo Brasileiro S.A.- Petrobras,
pursuant to the following wire instructions:

                      Bank:           Bank of America
                       Account:       .._____.15072

                       ABA/Routing:026009593
                       Swift Code:    BOFAUS3N
                       Country:       EUA

                       Currency;      USD

                       Reference:     In re Petrobras Securities Litigation
 Any return of monies to POF pursuant to the terms of the Stipulation or this Guarantee shall be
 made via wire transfer payable to Petrobras Global Finance B.V., pursuant to the following wire
 instructions:


                       Bank:          JPMorgan Chase
                       Account;       c:::J5097
                        ABA/R.outing:021000021
                        Swift Code:    CHASUS33

                        Country:       EUA

                        Currency:      USD
                        Reference:     In re Petrobra.s Securities Litigation
         Section z. Representations and Warranties. The Guarantor represents and warrants to
  each Beneficiary on the date hereof and, with respect to the representation in clause (g) only.
  during the duration of this Guarantee, that:
       (a)    he is a natural person of legal age and has the legal power, right and authority to
execute and deliver this Guarantee and to perform the provisions of this Guarantee on his part to
be performed;

       (b)     he is competent to enter into this Guarantee, and enters into this Guarantee of his
own free will and without duress or undue influence by any other person;

       (c)     he is capable of assessing the merits of, and understands and accepts, the terms
and conditions of the transactions contemplated by this Guarantee and the Stipulation;

       (d)     this Guarantee is the valid, binding and enforceable obligation of the Guarantor;

      (e)     the Guarantor acknowledges that he expects to benefit from the transactions
contemplated by the Stipulation;

        (f)     after giving effect to this Guarantee, the aggregate fair saleable value of all the
assets owned by the Guarantor or in which the Guarantor has an economic interest, at fair
valuation, will be greater than the sum of all the Guarantor's liabilities of any nature, including
without limitation contingent and unmatured debts or claims;

        (g)    there are no actions, suits or arbitration proceedings pending or, to the knowledge
of the Guarantor, threatened against the Guarantor, at law or in equity, which, individually or in
the aggregate, if adversely determined, would materially adversely affect the financial condition
of the Guarantor or materially impair the Guarantor's ability to perform his obligations under this
Guarantee; and

        (h)      neither the Guarantor nor any of its properties has any immunity from suit, court
jurisdiction, attachment prior to judgement, attachment in aid of execution of a judgement, set-
off, execution of a judgement or from any other legal process in relation to this Guarantee.

        Section 3. Subrogation of Rights. By accepting this Guarantee and entering into the
Stipulation, each Beneficiary agrees that the Guarantor shall be subrogated to all rights of such
Beneficiary against the Obligor in respect of any amounts paid by the Guarantor pursuant to this
Guarantee. The Guarantor agrees that it will not take any action against or in respect of the
Obligor relating to any payment made by the Guarantor under this Guarantee until such time as
all amounts payable by the Obligor under iii! 37-40 of the Stipulation have been paid.

        Section 4. Binding Effect/Permitted Assignees. This Guarantee shall be binding upon
the Guarantor and his heirs, distributees, executors, administrators, guardians, conservators,
successors and assigns and shall inure to the benefit of each Beneficiary and its successors and
assigns. The Guarantor may not assign any of his obligations under this Guarantee to any person
or entity without the prior written consent of all of the Beneficiaries.

         Section 5. Termination. This Guarantee shall remain in effect until the indefeasible
 payment and performance in full of all the Guaranteed Obligations and the termination of the
 Stipulation.
        Section 6. Notices. Any notice to the Guarantor or any Beneficiary hereunder shall be in
writing and sent in any manner permitted by if 79 of the Stipulation to the address or facsimile
number set forth below with respect to each party (or to such other address or facsimile number
as the Guarantor or Beneficiaries shall notify each other from time to time).

       With respect to the Beneficiaries:

       Lewis J. Liman
       Roger A. Cooper
       CLEARY GOTTLIEB STEEN &
       HAMILTON LLP
       One Liberty Plaza
       New Yark, NY 10006
       Tel: (212) 225-2000
       Fax: (212) 225-3999

        With respect to the Guarantor:

       Jeremy A. Lieberman
       POMERANTZ LLP
       600 Third A venue
       New York, New York 10016
       Tel: (212) 661-1100
       Fax: (212) 661-8665

        Section 7. Governing Law; Jurisdiction. This Guarantee shall be governed by and
construed in accordance with the laws of the State ofNew York. The Guarantor and
Beneficiaries hereby irrevocably and unconditionally (i) consent and submit to the non-exclusive
jurisdiction of any United States Federal or New York State court sitting in the Borough of
Manhattan, City and State of New York and any appellate court from any such court, solely for
the purpose of any suit, action, or proceeding brought to enforce his obligations under this
Guarantee or relating in any way to this Guarantee and (ii) waive, to the fullest extent he may
effectively do so, any defense of an inconvenient forum to the maintenance of such action or
proceeding in f_}.ny such court and any right of jurisdiction on account of his place of residence or
 domicile. THE GUARANTOR HEREBY WAIVES ANY AND ALL RIGHTS TO DEMAND
A TRIAL BY JURY IN ANY ACTION, SUIT OR PROCEEDING ARISING OUT OF OR
 RELATING TO THIS GUARANTEE OR THE TRANSACTIONS CONTEMPLATED
 HEREBY.

       Section 8. Amendments. This Guarantee shall not be amended, supplemented or
otherwise modified except by a writing signed by both the Guarantor and all of the Beneficiaries.

                                      [signature page follows]
       IN WITNESS WHEREOF, the Guarantor has caused this Guarantee to be executed and
duly authorized, as of the date first written above.




                                            Jeremy A. Lieberman



ACKNOWLEDGED AND ACCEPTED, as of the date first written above:


                                            CLEARY GOTTLIEB STEEN &
                                            HAMILTON LLP




                                             Counsel for Petr6/eo Brasileiro S.A. -
                                             Petrobras and Petrobras Global Finance B. V.
EXHIBIT C
                      EXHIBIT C TO ATTORNEYS' FEES LETTER

                                       UNDERTAKING

       TffiS UNDERTAKING (as the same may be amended, supplemented or otherwise
modified from time to time, the "Undertaking") is executed as of February 1, 2018, by
Pomerantz LLP ("Class Counsel"), in favor of Petr61eo Brasileiro S.A. - Petro bras ("Petrobras"),
Petrobras Global Finance B.V. ("PGF") and Petrobras America Inc. ("PAI") and their successors
and permitted assigns (the "Petrobras Defendants").

       WHEREAS, Class Counsel, on behalf of Plaintiffs and Settlement Class Members, has
entered into a Stipulation of Settlement and Release, dated as of February 1, 2018 (the
"Stipulation"), with the Petrobras Defendants, and with other parties;

       WHEREAS, Class Counsel, on behalf of Plaintiffs and Settlement Class Members, has
entered into an agreement with the Petro bras Defendants set forth in the Attorneys' Fees Letter
dated as of February 1, 2018;

      WHEREAS, unless otherwise defined herein, all capitalized terms shall have the
meanings ascribed to them in the Stipulation

       WHEREAS, in consideration of the provisions set forth in the Stipulation and the
Attorneys' Fees Letter governing the award and payment of attorneys' fees and expenses to
Class Counsel, Class Counsel is willing to enter into this Undertaking;

        NOW, THEREFORE, Class Counsel, intending to be legally bound, agrees as follows
for the benefit of the Petrobras Defendants:

        Section 1. Undertaking. (a) From and after the date hereof, Class Counsel hereby
irrevocably, absolutely and unconditionally agrees to pay all present and future amounts payable
by it under iii! 37-40 of the Stipulation and under the Attorneys' Fees Letter, whether direct or
indirect, absolute or contingent, now or hereafter from time to time owing to the Petrobras
Defendants, in full in cash when the same are due and payable in accordance with the terms of
the Stipulation and the Attorneys' Fees Letter.

          This is an Undertaking of payment, and not merely of collection. Class Counsel further
agrees to pay and indemnify the Petro bras Defendants for all costs, fees and expenses (including,
without limitation, reasonable legal fees) incurred by any Petrobras Defendant in connection
with enforcing or exercising its rights under this Undertaking or under iii! 37-40 of the
Stipulation, or any direct damages arising from a breach by Class Counsel of the provisions
hereof or ofi!i! 37-40 of the Stipulation or any misrepresentation made by Class Counsel herein
or in iii! 37-40 of the Stipulation.

        (b)   The rights, powers, remedies and privileges provided in this Undertaking are
cumulative and not exclusive of any rights, powers, remedies and privileges provided by any
other agreement or by law, including, but not limited to, the Stipulation and Attorneys' Fees
Letter.
       (c)     Class Counsel hereby agrees that its obligations hereunder are absolute,
unconditional and continuing and, without limiting the generality of the foregoing, shall not be
released, discharged or otherwise affected by (and Class Counsel hereby waives, to the extent
applicable):

               (i)       any claim as to the validity, regularity or enforceability of the Stipulation,
                         the Attorneys' Fees Letter or this Undertaking or any other agreement
                         related to the Stipulation or this Undertaking;

               (ii)      lack of authority of Class Counsel to execute or deliver this Undertaking;

               (iii)     any change in the time, manner or place of payment of, or in any other
                         term of, or amendment to the Stipulation or the Attorneys' Fees Letter;

               (iv)      any rescission, amendment, waiver or consent by any Petro bras Defendant
                         with respect to any provisions of the Stipulation, the Attorneys' Fees
                         Letter or this Undertaking or any compromise or release by any Petrobras
                         Defendant of any of Class Counsel's obligations thereunder or hereunder

               (v)       the absence of any action to enforce the Stipulation, the Attorneys' Fees
                         Letter or this Undertaking, to recover any judgment against Class Counsel
                         or to enforce a judgment against Class Counsel under the Stipulation, the
                         Attorneys' Fees Letter or this Undertaking;

               (vi)      the existence of any bankruptcy, insolvency, reorganization or similar
                         proceedings involving Class Counsel;

               (vii)     any setoff, counterclaim, or defense of any kind or nature which may be
                         available to or asserted by Class Counsel against the Petrobras Defendants
                         or any of their affiliates, or against the Settlement Class Members or any
                         of their affiliates;

                (viii)   any change in the laws, rules or regulations of any jurisdiction;

                (ix)     any present or future action of any governmental authority or court
                         amending, varying, reducing or otherwise affecting, or purporting to
                         amend, vary, reduce or otherwise affect, any of the obligations of Class
                         Counsel under the Stipulation, the Attorneys' Fees Letter or this
                         Undertaking; and

                (x)       any other circumstance (other than payment) which might otherwise
                          constitute a legal or equitable discharge or defense generally.

         (d)     If at any time (including any time after termination or expiration of this
 Undertaking) any payment under the Stipulation, the Attorneys' Fees Letter or this Undertaking
 is rescinded or must be otherwise restored or returned by any Petrobras Defendant, any
 Settlement Class Member or the Escrow Agent upon the insolvency, bankruptcy or
 reorganization Class Counsel or otherwise, Class Counsel's obligations hereunder with respect to

                                                     2
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such payment shall be reinstated upon such restoration or return being made by such Petrobras
Defendant, such Settlement Class Member or the Escrow Agent, all .as though such payment had
not been made.

         (e)     Any return of monies to Petrobras pursuant: to the terms of the Stipulation or
  this Undertaking shall be made via wire transfer payable to Petr61eo Brasileiro S.A.-
  Petrobras, pursuant to the following wire instructions:

                       Bank:          Bank of Amerlea
                       Account:       ....__......ts072
                       ABA/Routing: 026009593
                       Swift Code: BOFAUS3N
                       Country:     EUA
                       Currency:      USD
                       Reference:     In re Petrobras Securities Litigation
Any return of monies to POF pursuant to the tenns of the Stipulation or this Undertaking shall be
made. via wire transfer payable to Petrobras Global Finance B.V., pursuant to the following wire
instructions:

                       Bank:          JPMorgan Chase
                       Account:     CJ5097
                       ABAIR.outing: 021000021
                       S;vift Code:    CHASUS33
                       Country:        EUA
                       Currency:       USD
                       Reference:      In re Petrobras Securities Litigation

       Scction 2. Representations and Warranties. Class Counsel represents and warrants to
each Petrobras Defendant on the date hereof and, vtith respect to the representation in clause (d)
only, during the duration of this Undertaking. that:

        (a)     this Undertaking is the valid, binding and enforceable obligation of Class
Counsel;
      (b}     Class Counsel acknowledges that it expects to benefit from the transactions
contemplated by the Stipulation and the Attorneys• Fees Letter;
        (c)     after giving effect to this Undertaking, the aggregate fair saleable value of all the
assets owned by Class Counsel or in vlhich Class Counsel has an economic interest, at fair
valuation, will be greater than the sum of all Class Counsers liabilities of any nature, including
without limitation contingent and umnatured debts or claims;

                                                   3
       (d)      there are no actions, suits or arbitration proceedings pending or, to the knowledge
of Class Counsel, threatened against Class Counsel, at law or in equity, which, individually or in
the aggregate, if adversely determined, would materially adversely affect the financial condition
of Class Counsel or materially impair Class Counsel's ability to perform its obligations under the
Stipulation, the Attorneys' Fees Letter or this Undertaking; and

          (e)     neither the Class Counsel nor any of its properties has any immunity from suit,
  court jurisdiction, attachment prior to judgement, attachment in aid of execution of a
  judgement, set-off, execution of a judgement or from any other legal process in relation to this
  Guarantee.

       Section 3.Binding Effect/Permitted Assignees. This Undertaking shall be binding upon
Class Counsel and its successors and assigns and shall inure to the benefit of each Petro bras
Defendant and its successors and assigns. Class Counsel may not assign any of its obligations
under this Undertaking to any person or entity without the prior written consent of all of the
Petrobras Defendants.

       Section 4. Termination. This Undertaking shall remain in effect until the indefeasible
payment and performance in full of all obligations under~~ 37-40 of the Stipulation, under the
Attorneys' Fees Letter and under this Undertaking.

       Section 5. Amendments. The terms of this Undertaking shall not be waived, altered,
modified, amended or supplemented in any manner whatsoever except by written instrument
signed by each of Class Counsel and the Petro bras Defendants.

        Section 6. Governing Law; Jurisdiction. This Undertaking shall be governed by and
construed in accordance with the laws of the State of New York. Class Counsel hereby
irrevocably and unconditionally (i) consents and submits to the non-exclusive jurisdiction of any
United States Federal or New York State court sitting in the Borough of Manhattan, City and
State of New York and any appellate court from any such court, solely for the purpose of any
suit, action, or proceeding brought to enforce its obligations under this Undertaking or relating in
any way to this Undertaking and (ii) waives, to the fullest extent it may effectively do so, any
defense of an inconvenient forum to the maintenance of such action or proceeding in any such ·
court and any right of jurisdiction on account of its place of residence or domicile. CLASS
COUNSEL HEREBY WAIVES ANY AND ALL RIGHTS TO DEMAND A TRIAL BY JURY
IN ANY ACTION, SUIT OR PROCEEDING ARISING OUT OF OR RELATING TO THIS
UNDERTAKING OR THE TRANSACTIONS CONTEMPLATED HEREBY.

                                      [signature page follows]




                                                  4
       IN WITNESS WHEREOF, Class Counsel has caused this Undertaking to be
executed and duly authorized, as of the date first written above.

                                          POMERANTZ LLP

                                          By: ~~~~~~~~~

                                          Jeremy A. Lieberman
                                          Marc I. Gross
                                          Emma Gilmore
                                          John A. Kehoe
                                          Brenda Szydlo
                                          600 Third Avenue
                                          New York, New York 10016
                                          Tel: (212) 661-1100
                                          Fax: (212) 661-8665
                                          jalieberman@pomlaw.com
                                          migross@pomlaw.com
                                          egilmore@pomlaw.com
                                          jkehoe@pomlaw.com
                                          bszydlo@pomlaw.com



ACKNOWLEDGED AND ACCEPTED, as of the date first written above:

                                         CLEARY GOTTLIEB STEEN ~-
                                         HAMIL TO, LP           '



                                         Lewis J. Liman i'
                                         Roger A. Cooper
                                         Jared M. Gerber
                                         Rahul Mukhi
                                         One Liberty Plaza,
                                         New York, New York 10006
                                         Tel: (212) 225-2000
                                         Fax: (212) 225-3999
                                         lliman@cgsh.com
                                         racooper@cgsh.com
                                         j gerber@cgsh.com
                                         rmukhi@cghs.com

                                         Counsel for Petroleo Brasileiro S.A. -
                                         Petrobras, Petrobras Global Finance B. V.
                                         and Petrobras America Inc.
